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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 INNOVATIVE SPORTS MANAGEMENT,
 d/b/a INTEGRATED SPORTS MEDIA,

                                   Plaintiff,                               JUDGMENT
                 v.
                                                                            20-cv-405 (KAM)(LB)
 YIRCEO ZARATE, Individually, and as Officer,
 director, shareholder and/or Principal of EL
 MORDISCO SPORTS BAR RESTAURANTE,
 CORP., and EL MORDISCO SPORTS BAR
 RESTAURANTE, CORP.,

                                    Defendants.
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         An Order of Honorable Kiyo A. Matsumoto, United States District Judge, having been

 filed on August 30, 2021, adopting the Report and Recommendation of Magistrate Judge Lois

 Bloom, dated August 5, 2021, granting in part and denying in part plaintiff’s motion for default

 judgment; finding Defendant El Mordisco liable; directing that judgment in the amount of

 $6,000.00 should be entered against the defendant El Mordisco as follows: (1) $3,000.00 for El

 Mordisco’s violation of the Copyright Act; (2) $3,000.00 in enhanced damages for El

 Mordisco’s violation of the Copyright Act; and (3) $0 in damages against Yirceo Zarate; it is

        ORDERED and ADJUDGED that plaintiff’s motion for default judgment is granted in

part and denied in part; that Defendant El Mordisco is found to be liable; that judgment is hereby

entered in favor of plaintiff and against El Mordisco in the total amount of $6,000.00, and $0

against Yirceo Zarate.

Dated: Brooklyn, New York                                            Douglas C. Palmer
       August 31, 2021                                               Clerk of Court

                                                               By:    /s/Jalitza Poveda
                                                                      Deputy Clerk
